Case 1:22-cv-20230-DPG Document 10 Entered on FLSD Docket 01/20/2022 Page 1 of 2




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                        IN ADMIRALTY

                                     CASE NO.:1:22-cv-20230-DPG

  PENINSULA PETROLEUM FAR EAST PTE. LTD.

          Plaintiff,
  v.

  M/V CRYSTAL SYMPHONY, its
  Engines, tackle, apparel, et al

          Defendant in rem, and

  CRYSTAL CRUISES, LLC.
  STAR CRUISES (HK) LIMITED.

        Defendants in personam.
  __________________________________/

                                ORDER FOR ISSUE OF WARRANT
                                FOR ARREST OF VESSEL, IN REM

          THIS CAUSE came before the Court upon Plaintiff’s Motion and Memorandum for Issue

  of Warrant for Arrest of Vessel, In Rem. [ECF No. 5]. The Court has reviewed the Motion, the

  Verified Complaint, and the record and is otherwise fully advised. Based thereon, the Court finds

  that the conditions required by Supplemental Rule for Certain Admiralty and Maritime Claims C

  exist. Accordingly, it is

          ORDERED that the Clerk issue a Warrant of Arrest in rem for the M/V CRYSTAL

  SYMPHONY (“Vessel”) pursuant to Supplemental Rule C(3)(a), providing for the arrest by

  plaintiff of the Vessel in rem; and it is further,

          ORDERED that the Vessel may be released from seizure without further order of this
Case 1:22-cv-20230-DPG Document 10 Entered on FLSD Docket 01/20/2022 Page 2 of 2




  Court if the United States Marshal (or Custodian or husbanding agent of the Vessel, as applicable)

  receives written authorization from the counsel who requested the arrest or other counsel of record

  representing Plaintiff in this action, and such counsel advises that counsel has conferred with all

  counsel representing the parties to the litigation and they consent to the release, if the attorney

  files the consent, and the Court has not entered an Order to the Contrary.

         DONE AND ORDERED in Chambers at Miami, Florida, this 20th day of January, 2022.




                                               ________________________________
                                               DARRIN P. GAYLES
                                               UNITED STATES DISTRICT JUDGE




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